               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FARHAD AZIMA,                      )
                                   )
          Plaintiff,               )
                                   )
     v.                            )        1:20CV954
                                   )
NICHOLAS DEL ROSSO and             )
VITAL MANAGEMENT SERVICES,         )
INC.,                              )
          Defendants.              )


                                 ORDER

     This matter comes before the court on Defendants’ Motion

for Extension of Time to File Responsive Pleading. (Doc. 82.)

Defendants move the court for a thirty (30) day extension of

time, up to and including November 11, 2022 to respond to

Plaintiff’s Complaint, (Doc. 1). Plaintiff filed a response, and

Defendants replied. (Docs. 83, 84.) On October 12, 2022,

Defendants filed an Answer and Affirmative Defenses to

Complaint. (Doc. 86.) It appears the motion for extension, (Doc.

82), is moot.

     IT IS ORDERED that Defendants’ Motion for Extension of Time

to File Responsive Pleading, (Doc. 82), is DENIED AS MOOT.

     This the 14th day of October, 2022.



                                __________________________________
                                   United States District Judge




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